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12                             UNITED STATES DISTRICT COURT
13                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                   No. CR 18-331-GW

15               Plaintiff,                      PLEA AGREEMENT FOR
                                                 DEFENDANT ARMAN GABAEE
16                     v.

17   ARMAN GABAEE,
      aka “Arman Gabay,”
18
                 Defendant.
19

20

21                This constitutes the plea agreement between defendant ARMAN
22   GABAEE (“defendant”) and the United States Attorney’s Office for the
23   Central District of California (the “USAO”) in the above-captioned
24   case.    This agreement is limited to the USAO and cannot bind any
25   other federal, state, local, or foreign prosecuting, enforcement,
26   administrative, or regulatory authorities.
27   ///
28   ///


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1                                 DEFENDANT’S OBLIGATIONS

2                 Defendant agrees to:

3                 a.    At the earliest opportunity requested by the USAO and

4    provided by the Court, appear and plead guilty to Count Four of the

5    indictment in United States v. Arman Gabaee, CR No. 18-331-GW, which

6    charges defendant with Federal Program Bribery in violation of 18

7    U.S.C. § 666(a)(2).

8                 b.    Not contest the Factual Basis agreed to in this

9    agreement.
10                c.    Abide by all agreements regarding sentencing contained
11   in this agreement.
12                d.    Appear for all court appearances, surrender as ordered
13   for service of sentence, obey all conditions of any bond, and obey
14   any other ongoing court order in this matter.
15                e.    Not commit any crime; however, offenses that would be
16   excluded for sentencing purposes under United States Sentencing
17   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
18   within the scope of this agreement.

19                f.    Be truthful at all times with the United States

20   Probation and Pretrial Services Office and the Court.

21                g.    Pay the applicable special assessment at or before the

22   time of sentencing unless defendant has demonstrated a lack of

23   ability to pay such assessments.

24                h.    Pay the applicable fine, which the parties agree is at

25   least $1,149,000, at or before the time of sentencing.

26                i.    Make restitution, if applicable, at or before the time

27   of sentencing, and not seek the discharge of any restitution

28

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1    obligation, in whole or in part, in any present or future bankruptcy

2    proceeding.

3                                  THE USAO’S OBLIGATIONS

4                 The USAO agrees to:

5                 a.    Not contest the Factual Basis agreed to in this

6    agreement.

7                 b.    Abide by all agreements regarding sentencing contained

8    in this agreement.

9                 c.    At the time of sentencing, move to dismiss the
10   remaining counts of the indictment as against defendant.                Defendant
11   agrees, however, that at the time of sentencing the Court may
12   consider any dismissed charges in determining the applicable
13   Sentencing Guidelines range, the propriety and extent of any
14   departure from that range, and the sentence to be imposed.
15                d.    Provided that defendant demonstrates an acceptance of
16   responsibility for the charged offense as defined in U.S.S.G. §
17   3E1.1, including as further explained in its application notes and in
18   particular Note 1(A), up to and including at the time of sentencing,

19   recommend a two-level reduction in the applicable Sentencing

20   Guidelines offense level, pursuant to U.S.S.G. § 3E1.1(a).

21                                 NATURE OF THE OFFENSE

22                Defendant understands that for defendant to be guilty of

23   the crime charged in Count Four, that is, Federal Program Bribery in

24   violation of 18 U.S.C. § 666(a)(2), the following must be true:

25                a.    Defendant corruptly gave, offered, or agreed to give

26   something of value to a person;

27                b.    Defendant intended to influence or reward an agent of

28   a local government -- here, the County of Los Angeles -- in

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1    connection with any business, transaction, or series of transactions

2    of that local government involving anything of value of $5,000 or

3    more; and

4                 c.    The County of Los Angeles received, in any one year

5    period, benefits in excess of $10,000 under a Federal program

6    involving a grant, contract, subsidy, loan, guarantee, insurance, or

7    other form of Federal assistance.

8                                PENALTIES AND RESTITUTION

9                 Defendant understands that the statutory maximum sentence
10   that the Court can impose for a violation of 18 U.S.C. § 666(a)(2)
11   is: 10 years’ imprisonment; a three-year period of supervised
12   release; a fine of $250,000 or twice the gross gain or gross loss
13   resulting from the offense, whichever is greatest; and a mandatory
14   special assessment of $100.
15                Defendant understands that defendant will be required to

16   pay full restitution to the victim of the offense to which defendant

17   is pleading guilty.       Defendant agrees that, in return for the USAO’s

18   compliance with its obligations under this agreement, the Court may

19   order restitution to persons other than the victim of the offense to

20   which defendant is pleading guilty and in amounts greater than those

21   alleged in the count to which defendant is pleading guilty.                 In

22   particular, defendant agrees that the Court may order restitution to

23   any victim of any of the following for any losses suffered by that

24   victim as a result: (a) any relevant conduct, as defined in U.S.S.G.

25   § 1B1.3, in connection with the offense to which defendant is

26   pleading guilty; and (b) any counts dismissed pursuant to this

27   agreement as well as all relevant conduct, as defined in U.S.S.G.

28   § 1B1.3, in connection with those counts.

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1                 Defendant agrees that any and all fines and/or restitution

2    ordered by the Court will be due immediately.             The government is not

3    precluded from pursuing, in excess of any payment schedule set by the

4    Court, any and all available remedies by which to satisfy defendant’s

5    payment of the full financial obligation, including referral to the

6    Treasury Offset Program.

7                 Defendant understands that supervised release is a period

8    of time following imprisonment during which defendant will be subject

9    to various restrictions and requirements.            Defendant understands that
10   if defendant violates one or more of the conditions of any supervised
11   release imposed, defendant may be returned to prison for all or part
12   of the term of supervised release authorized by statute for the
13   offense that resulted in the term of supervised release, which could
14   result in defendant serving a total term of imprisonment greater than
15   the statutory maximum stated above.
16                Defendant understands that, by pleading guilty, defendant

17   may be giving up valuable government benefits and valuable civic

18   rights, such as the right to vote, the right to possess a firearm,

19   the right to hold office, and the right to serve on a jury.

20   Defendant understands that he is pleading guilty to a felony and that

21   it is a federal crime for a convicted felon to possess a firearm or

22   ammunition.     Defendant understands that the conviction in this case

23   may also subject defendant to various other collateral consequences,

24   including but not limited to revocation of probation, parole, or

25   supervised release in another case and suspension or revocation of a

26   professional license.        Defendant understands that unanticipated

27   collateral consequences will not serve as grounds to withdraw

28   defendant’s guilty plea.

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1           10.   Defendant understands that, if defendant is not a United

2    States citizen, the felony conviction in this case may subject

3    defendant to: removal, also known as deportation, which may, under

4    some circumstances, be mandatory; denial of citizenship; and denial

5    of admission to the United States in the future.              The Court cannot,

6    and defendant’s attorney also may not be able to, advise defendant

7    fully regarding the immigration consequences of the felony conviction

8    in this case.       Defendant understands that unexpected immigration

9    consequences will not serve as grounds to withdraw defendant’s guilty
10   plea.
11                                      FACTUAL BASIS
12                Defendant admits that defendant is, in fact, guilty of the

13   offense to which defendant is agreeing to plead guilty.                Defendant

14   and the USAO agree to the statement of facts provided below and agree

15   that this statement of facts is sufficient to support a plea of

16   guilty to the charge described in this agreement and to establish the

17   Sentencing Guidelines factors set forth in paragraph 13 below but is

18   not meant to be a complete recitation of all facts relevant to the

19   underlying criminal conduct or all facts known to either party that

20   relate to that conduct.

21          Background

22          At all times relevant to the charges in the indictment,

23   defendant was a real estate developer who conducted business with the

24   County of Los Angeles (“County”).            He was the co-managing partner and

25   co-founder of the Charles Company, a real estate development firm

26   that developed and maintained commercial and residential real estate

27   projects.     Defendant was also a partner of the California limited

28   partnership M&A Gabaee, among other entities.             Defendant’s business

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1    activities included obtaining contracts with the County, whereby the

2    County would lease property owned by defendant, often through one of

3    his companies.

4           Cooperating Witness 1 (“CW1”) was a public official employed by

5    the County in the Real Estate Division.            CW1’s duties involved

6    negotiating leases between private building and property owners and

7    various County departments.         CW1 was also able to request and receive

8    proposals from private real estate developers, like defendant, who

9    wanted to lease their buildings to County departments.               Once a
10   property was identified for a County department in need of space, CW1
11   was able to negotiate lease terms and draft lease agreements for the
12   County and private property owners, or direct others to do so.                 Based
13   on CW1’s level of seniority, CW1 had significant autonomy to
14   contractually bind the County.          In particular, CW1 had authority to
15   negotiate contract terms on behalf of the County, although final
16   contract approval lay with the Board of Supervisors, and CW1 had
17   authority to approve, with others, change orders on contracts.
18          The County was a local government that received, every calendar

19   year between 2010 and 2017, benefits in excess of $10,000 under a

20   Federal program involving a grant, contract, subsidy, loan,

21   guarantee, insurance, or other form of Federal assistance.                In fact,

22   multiple County departments or agencies, including but not limited to

23   the Department of Public Social Services (“DPSS”), received Federal

24   assistance that exceeded $10,000 every calendar year between 2010 and

25   2017.

26          Monthly Bribe Payments

27          Beginning in or about 2010 or 2011, and continuing until on or

28   about April 11, 2017, defendant paid CW1 bribes and kickbacks of

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1    approximately $1,000 about every month, in exchange for, among other

2    things: (a) CW1 providing non-public County information to defendant;

3    (b) CW1 resolving issues between defendant and County departments or

4    agencies on terms favorable to defendant; and (c) CW1 helping to

5    secure County leases for defendant and negotiating terms in those

6    leases that were beneficial to defendant.

7           On or about the following dates, during recorded meetings,

8    defendant paid CW1 the following cash bribes and kickbacks:

9            DATE                     AMOUNT OF CASH BRIBE AND KICKBACK
10           December 20, 2016        $1,500
11           December 30, 2016        $1,500
12           January 27, 2017         $1,000
13           March 1, 2017            $1,000
14           March 31, 2017           $900
15           April 11, 2017           $100
16

17          Hawthorne Mall and DPSS Lease
18          One of the County leases defendant sought was for the Hawthorne
19   Mall, aka the “Hawthorne Plaza” or “Hawthorne Plaza Shopping Center,”
20   located in Hawthorne, California.             Through one of his companies,
21   defendant owned and was redeveloping the Hawthorne Mall.                Beginning
22   in or around 2016, defendant sought a contract through which the
23   County would lease space from defendant for DPSS and other County
24   departments or agencies in the Hawthorne Mall (the “DPSS Lease”).                    As
25   drafted, the DPSS Lease anticipated a term of 10 years and payments
26   to defendant, in the form of rent and tenant improvements
27   reimbursable by the County, in excess of $45 million.
28

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1           To secure that DPSS Lease, beginning in or about, but no later

2     than, December 2016 and continuing until on or about April 25, 2017,

3     defendant attempted to bribe, and did bribe, CW1 with (a) the monthly

4     cash bribe payments and (b) the purchase of a residential property in

5     Northern California for CW1’s use.          In exchange for these bribes,

6     defendant sought to have CW1 perform various official acts related to

7     the DPSS Lease including, among other things: (a) CW1 exerting

8     pressure on County departments to complete and submit Space Request

9     Evaluations (“SREs”), an official request for office space that would
10    have allowed CW1 to begin more formal lease negotiations with
11    defendant; (b) CW1 pretending to publically engage in the normal
12    County bidding process for County leases, but in fact, promising
13    defendant that CW1 would give defendant favorable treatment to ensure
14    that defendant received the DPSS Lease; (c) CW1 exerting pressure on
15    a subordinate employee (“County Employee 1”) in the Real Estate
16    Division to draft the DPSS Lease for defendant, and to do so
17    expeditiously and no later than August 2017; (d) CW1 using CW1’s
18    influence to pressure County Employee 1 to draft the DPSS Lease in

19    such a way that it “looked good on paper,” meaning that it did not

20    appear suspect or raise concerns; (e) CW1 using CW1’s influence to

21    pressure DPSS to agree to the terms in the DPSS Lease; and (f) CW1

22    ultimately obtaining the signed DPSS Lease for defendant.

23          To uphold his end of the quid pro quo arrangement, defendant

24    first offered to purchase for CW1 a property on Barnes Road in Santa

25    Rosa, California, listed at $1,199,000, but the property was already

26    in escrow.     Thereafter, defendant offered to buy CW1 a property on

27    Annadel Heights Drive in Santa Rosa, which was originally listed for

28    $1,199,000 but later reduced to $1,095,000.            In April 2017, defendant

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1     made two purchase offers on the Annadel Heights Drive property -- the

2     first offer was for $1,035,000, and the second offer was for

3     $1,065,000.     Defendant intended to purchase the Annadel Heights Drive

4     property for CW1; however, he rescinded his second purchase offer

5     hours after he made it, because FBI agents had approached and

6     informed him that the FBI was aware of his bribes to CW1.

7                                    SENTENCING FACTORS

8                 Defendant understands that in determining defendant’s

9     sentence the Court is required to calculate the applicable Sentencing
10    Guidelines range and to consider that range, possible departures
11    under the Sentencing Guidelines, and the other sentencing factors set
12    forth in 18 U.S.C. § 3553(a).         Defendant understands that the
13    Sentencing Guidelines are advisory only, that defendant cannot have
14    any expectation of receiving a sentence within the calculated
15    Sentencing Guidelines range, and that after considering the
16    Sentencing Guidelines and the other § 3553(a) factors, the Court will
17    be free to exercise its discretion to impose any sentence it finds
18    appropriate up to the maximum set by statute for the crime of

19    conviction.

20                Defendant and the USAO agree to the following applicable

21    Sentencing Guidelines factors:

22        Base Offense Level:                     12      [U.S.S.G. § 2C1.1(a)(2)]
23        Specific Offense
          Characteristics
24

25          -More Than One Bribe:                 +2      [U.S.S.G. § 2C1.1(b)(1)]

26          -Value of the Bribe:               +14
                                                [U.S.S.G. §§ 2C1.1(b)(2),
                                                          2B1.1(b)(1)(H)]
27    Defendant and the USAO reserve the right to argue that additional

28    specific offense characteristics, adjustments, and departures under

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1     the Sentencing Guidelines are appropriate.           For example, the USAO

2     will argue that the following specific offense characteristic

3     applies: a four-level increase for bribing an official in a high-

4     level decision making or sensitive position under U.S.S.G. §

5     2C1.1(b)(3).

6                 Defendant understands that there is no agreement as to

7     defendant’s criminal history or criminal history category.

8                 Defendant and the USAO reserve the right to argue for a

9     sentence outside the sentencing range established by the Sentencing
10    Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
11    (a)(2), (a)(3), (a)(6), and (a)(7).
12                           WAIVER OF CONSTITUTIONAL RIGHTS

13                Defendant understands that by pleading guilty, defendant

14    gives up the following rights:

15                a.    The right to persist in a plea of not guilty.

16                b.    The right to a speedy and public trial by jury.

17                c.    The right to be represented by counsel –- and if

18    necessary have the Court appoint counsel -- at trial.              Defendant

19    understands, however, that, defendant retains the right to be

20    represented by counsel –- and if necessary have the Court appoint

21    counsel –- at every other stage of the proceeding.

22                d.    The right to be presumed innocent and to have the

23    burden of proof placed on the government to prove defendant guilty

24    beyond a reasonable doubt.

25                e.    The right to confront and cross-examine witnesses

26    against defendant.

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1                 f.    The right to testify and to present evidence in

2     opposition to the charges, including the right to compel the

3     attendance of witnesses to testify.

4                 g.    The right not to be compelled to testify, and, if

5     defendant chose not to testify or present evidence, to have that

6     choice not be used against defendant.

7                 h.    Any and all rights to pursue any affirmative defenses,

8     Fourth Amendment or Fifth Amendment claims, and other pretrial

9     motions that have been filed or could be filed.
10                            WAIVER OF APPEAL OF CONVICTION
11                Defendant understands that, with the exception of an appeal

12    based on a claim that defendant’s guilty plea was involuntary, by

13    pleading guilty defendant is waiving and giving up any right to

14    appeal defendant’s conviction on the offense to which defendant is

15    pleading guilty.      Defendant understands that this waiver includes,

16    but is not limited to, arguments that the statute to which defendant

17    is pleading guilty is unconstitutional, and any and all claims that

18    the statement of facts provided herein is insufficient to support

19    defendant’s plea of guilty.

20                     LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

21                Defendant agrees that, provided the Court imposes a total

22    term of imprisonment on all counts of conviction of no more than 108

23    months, defendant gives up the right to appeal all of the following:

24    (a) the procedures and calculations used to determine and impose any

25    portion of the sentence; (b) the term of imprisonment imposed by the

26    Court; (c) the fine imposed by the Court, provided it is within the

27    statutory maximum; (d) to the extent permitted by law, the

28    constitutionality or legality of defendant’s sentence, provided it is

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1     within the statutory maximum; (e) the amount and terms of any

2     restitution order; (f) the term of probation or supervised release

3     imposed by the Court, provided it is within the statutory maximum;

4     and (g) any of the following conditions of probation or supervised

5     release imposed by the Court: the conditions set forth in General

6     Order 20-04 of this Court; the drug testing conditions mandated by 18

7     U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and drug use

8     conditions authorized by 18 U.S.C. § 3563(b)(7).

9                 The USAO agrees that, provided (a) all portions of the
10    sentence are at or below the statutory maximum specified above and
11    (b) the Court imposes a term of imprisonment of no less than 87
12    months, the USAO gives up its right to appeal any portion of the
13    sentence, with the exception that the USAO reserves the right to
14    appeal the following: the amount of a fine ordered if that amount is
15    less than $1,149,000.
16                         RESULT OF WITHDRAWAL OF GUILTY PLEA

17                Defendant agrees that if, after entering a guilty plea

18    pursuant to this agreement, defendant seeks to withdraw and succeeds

19    in withdrawing defendant’s guilty plea on any basis other than a

20    claim and finding that entry into this plea agreement was

21    involuntary, then (a) the USAO will be relieved of all of its

22    obligations under this agreement; and (b) should the USAO choose to

23    pursue any charge that was either dismissed or not filed as a result

24    of this agreement, then (i) any applicable statute of limitations

25    will be tolled between the date of defendant’s signing of this

26    agreement and the filing commencing any such action; and

27    (ii) defendant waives and gives up all defenses based on the statute

28    of limitations, any claim of pre-indictment delay, or any speedy

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1     trial claim with respect to any such action, except to the extent

2     that such defenses existed as of the date of defendant’s signing this

3     agreement.

4                               EFFECTIVE DATE OF AGREEMENT

5                 This agreement is effective upon signature and execution of

6     all required certifications by defendant, defendant’s counsel, and an

7     Assistant United States Attorney.

8                                    BREACH OF AGREEMENT

9                 Defendant agrees that if defendant, at any time after the
10    signature of this agreement and execution of all required
11    certifications by defendant, defendant’s counsel, and an Assistant
12    United States Attorney, knowingly violates or fails to perform any of
13    defendant’s obligations under this agreement (“a breach”), the USAO
14    may declare this agreement breached.          All of defendant’s obligations
15    are material, a single breach of this agreement is sufficient for the
16    USAO to declare a breach, and defendant shall not be deemed to have
17    cured a breach without the express agreement of the USAO in writing.
18    If the USAO declares this agreement breached, and the Court finds

19    such a breach to have occurred, then: (a) if defendant has previously

20    entered a guilty plea pursuant to this agreement, defendant will not

21    be able to withdraw the guilty plea, and (b) the USAO will be

22    relieved of all its obligations under this agreement.

23                Following the Court’s finding of a knowing breach of this

24    agreement by defendant, should the USAO choose to pursue any charge

25    that was either dismissed or not filed as a result of this agreement,

26    then:

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1                 a.    Defendant agrees that any applicable statute of

2     limitations is tolled between the date of defendant’s signing of this

3     agreement and the filing commencing any such action.

4                 b.    Defendant waives and gives up all defenses based on

5     the statute of limitations, any claim of pre-indictment delay, or any

6     speedy trial claim with respect to any such action, except to the

7     extent that such defenses existed as of the date of defendant’s

8     signing this agreement.

9                 c.    Defendant agrees that: (i) any statements made by
10    defendant, under oath, at the guilty plea hearing (if such a hearing
11    occurred prior to the breach); (ii) the agreed to factual basis
12    statement in this agreement; and (iii) any evidence derived from such
13    statements, shall be admissible against defendant in any such action
14    against defendant, and defendant waives and gives up any claim under
15    the United States Constitution, any statute, Rule 410 of the Federal
16    Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal
17    Procedure, or any other federal rule, that the statements or any
18    evidence derived from the statements should be suppressed or are

19    inadmissible.

20                          COURT AND UNITED STATES PROBATION

21                      AND PRETRIAL SERVICES OFFICE NOT PARTIES

22                Defendant understands that the Court and the United States

23    Probation and Pretrial Services Office are not parties to this

24    agreement and need not accept any of the USAO’s sentencing

25    recommendations or the parties’ agreements to facts or sentencing

26    factors.

27                Defendant understands that both defendant and the USAO are

28    free to: (a) supplement the facts by supplying relevant information

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1     to the United States Probation and Pretrial Services Office and the

2     Court, (b) correct any and all factual misstatements relating to the

3     Court’s Sentencing Guidelines calculations and determination of

4     sentence, and (c) argue on appeal and collateral review that the

5     Court’s Sentencing Guidelines calculations and the sentence it

6     chooses to impose are not error, although each party agrees to

7     maintain its view that the calculations in paragraph 13 are

8     consistent with the facts of this case.           This paragraph permits both

9     the USAO and defendant to submit full and complete factual
10    information to the United States Probation and Pretrial Services
11    Office and the Court, even if that factual information may be viewed
12    as inconsistent with the Factual Basis and Sentencing Factors agreed
13    to in this agreement.
14                Defendant understands that even if the Court ignores any

15    sentencing recommendation, finds facts or reaches conclusions

16    different from those agreed to, and/or imposes any sentence up to the

17    maximum established by statute, defendant cannot, for that reason,

18    withdraw defendant’s guilty plea, and defendant will remain bound to

19    fulfill all defendant’s obligations under this agreement.               Defendant

20    understands that no one –- not the prosecutor, defendant’s attorney,

21    or the Court –- can make a binding prediction or promise regarding

22    the sentence defendant will receive, except that it will be within

23    the statutory maximum.

24                                NO ADDITIONAL AGREEMENTS

25                Defendant understands that, except as set forth herein,

26    there are no promises, understandings, or agreements between the USAO

27    and defendant or defendant’s attorney, and that no additional

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1     promise, understanding, or agreement may be entered into unless in a

2     writing signed by all parties or on the record in court.

3                   PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

4                 The parties agree that this agreement will be considered

5     part of the record of defendant’s guilty plea hearing as if the

6     entire agreement had been read into the record of the proceeding.

7     AGREED AND ACCEPTED

8     UNITED STATES ATTORNEY’S OFFICE
      FOR THE CENTRAL DISTRICT OF
9     CALIFORNIA
10    TRACY L. WILKISON
      United States Attorney
11

12                                                        April 26, 2022

13    RUTH C. PINKEL                                      Date
      LINDSEY GREER DOTSON
14    THOMAS F. RYBARCZYK
      Assistant United States Attorneys
15

16
      ARMAN GABAEE                                        Date
17    Defendant
18

19    MARC A. AGNIFILO                                    Date
      Attorney for Defendant ARMAN GABAEE
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